         Case 1:15-vv-00863-UNJ Document 31 Filed 05/27/16 Page 1 of 2




       I
       nth
         eUn
           i
           tedS
              ta
               tesC
                  our
                    tofF
                       ede
                         ra
                          lCl
                            aim
                              s
                            OFF
                              ICE OFSPEC IAL MASTERS
                                   No.15-0863V
                                F
                                iled:Apri
                                        l19 ,2016
                                    Unpub
                                        lished
*********************************
HOWARD MARGUL
            IES,                           *
                                           *
                     Pe
                      ti
                       tione
                           r,              *
              v
              .                            *
                                           *      At
                                                   torneys
                                                         ’FeesandCosts
                                                                     ;
SECRETARY OFHEALTH                         *      Specia
                                                       lProcess
                                                              ingUn
                                                                  i
                                                                  t(“SPU
                                                                       ”)
ANDHUMANSERV ICES,                         *
                                           *
                     Responden
                             t.            *
                                           *
****************************
Max
  imil
     l
     ian Mul
           ler
             , Mu
                lle
                  rB raz
                       i
                       l,LLP
                           ,D reshe
                                  r,PA,fo
                                        rpet
                                           it
                                            ioner
                                                .
C
laudia Gang
          i,U .S
               .Depar
                    tmentofJus
                             tice
                                , Wash
                                     ing
                                       ton,DC,fo
                                               rresponden
                                                        t.

                   DEC
                     IS              ’FEESANDCOSTS1
                       ION ONATTORNEYS

Do
 rsey,Ch
       iefSpec
             ial Mas
                   ter
                     :

      On August12,2015,pe t
                          it
                           ione rfiledapeti
                                          tionfo
                                               rcompensa tionunderthe
Na
 tionalVaccineInjuryCompensa tionP rogram,42U .S
                                               .C.§300aa-  10
                                                            ,etseq.,2(the
“VaccineAct”
           ).Petit
                 ioneral
                       legedtha  thesu f
                                       feredashoulde
                                                   rin ju
                                                        ryasaresu l
                                                                  to fan
in
 fluenza(“f
          lu”
            )vacc ina
                    tionrece
                           ivedon Oc  tober5,2014.On March21,2016,the
unders
     ignedi ssuedadec isionawa rdingcompensa t
                                             iontopet
                                                    itionerbasedon the
par
  ties’jo
        intst
            ipulat
                 ion.(ECFNo  .23) .

      On Ma
          rch21,2016,pet
                       it
                        ionerfi
                              ledamo
                                   tionfo
                                        ratto
                                            rneys
                                                ’feesandcosts
(
“motion”)
        .(ECFNo .18).The mot
                           ionwastherea
                                      fte
                                        ramended.(ECF .No .26)
                                                             .
Pe
 ti
  tionerreques
             tsat
                torney
                     s’feesintheamountof$13
                                          ,005.00andat
                                                     torneys
                                                           ’costsin

1Becau seth
          isunpub lishedde cisioncontainsarea sonede  xplana
                                                           tionforthea c
                                                                       tioninthi
                                                                               sca se,the
undersignedin
            tend stopo stitontheUn  i
                                    tedS  ta
                                           tesCou  r
                                                   tofFede ralC la
                                                                 ims'web s
                                                                         ite
                                                                           ,ina ccordancewith
theE -
     Go ve
         rnmen tA ctof2002 .44U  .S
                                  .C.§3501no   te(2012 ) (Fede ra
                                                                l Managemen tandP romo t
                                                                                       ionof
E
lect
   ron icGovernmen tSe rv
                        ice s)
                             . Ina cco rdan cewithVa ccineRule18 (b)
                                                                   ,peti
                                                                       tionerhas14day  sto
iden
   tifyand mo vetoreda  c
                        t med ica
                                loro therinformation
                                                   ,thed isc
                                                           lo sureofwhichwou ldconsti
                                                                                    tutean
unwarrantedinvasiono fpr
                       iva cy.If,uponrev iew,theunde rsignedag reestha
                                                                     ttheiden t
                                                                              if
                                                                               ied mater
                                                                                       ialf
                                                                                          its
w
ith
  inth isdef
           ini
             tion,theunde rsignedw i
                                   llreda ctsuch materialf
                                                         rompub  l
                                                                 icaccess.

2Na
  tiona
      lCh
        i
        ldhoodVa
               ccineIn
                     juryA
                         cto
                           f1986
                               ,Pub
                                  .L.No
                                      .99-
                                         660
                                           ,100S
                                               tat
                                                 .3755
                                                     .     Here
                                                              ina
                                                                fte
                                                                  r,fo
                                                                     r
easeofci
       tat
         ion,a
             l
             l“§
               ”re
                 feren
                     cestotheVa
                              ccineA
                                   ctw
                                     i
                                     llbetothepe
                                               rt
                                                inen
                                                   tsubpa
                                                        rag
                                                          raphof42U .S
                                                                     .C.§
300aa(2012)
          .
        Case 1:15-vv-00863-UNJ Document 31 Filed 05/27/16 Page 2 of 2



theamoun tof$772.13foratota
                          lamountof$13
                                     ,777.13.Id.a
                                                t1.Inaccordancewi
                                                                th
Genera
     lO rde
          r#9 , pet
                  it
                   ione
                      r’scounse
                              lrep
                                 resen
                                     tsthatpet
                                             it
                                              ione
                                                 rincu
                                                     rrednoout-
                                                              of-
pocketexpenses.Id .

      On Ap ri
             l7,2016 ,respondentf
                                iledaresponsetope    t
                                                     it
                                                      ioner
                                                          ’s motion .(ECFNo  .
24).Inhe  rresponse ,respondentarguestha t“[n]ei
                                               thertheVacc ineActno rVacc ine
Ru
 le13con   templatesanyroleforresponden tinthereso  lut
                                                      ionofareques tbya
pet
  it
   ione rfo ranawa rdo fat
                         torneys
                               ’feesandcos   ts.
                                               ”Id .at1-2. Responden tadds ,
howeve r,thatshe“issa t
                      isf
                        iedthestatutoryrequiremen tsforanawa rdo fattorneys’fees
andcos tsa re metinthiscase.”Id.at2. Responden  tfurther“asser
                                                             tsthatareasonab  le
amoun tforfeesandco   s
                      tsinthepresen tcasewou  ldfal
                                                  lbe tween$12 ,000.00 and
$14,000.00”bu tprovidesnobas isorexplana tionfo rhowshea  rr
                                                           iveda t
                                                                 thi sproposed
range.Id .at3.

     Theunde rs
              ignedhasreviewedthebi
                                  ll
                                   ingrecordssubmit
                                                  tedw i
                                                       thpet
                                                           it
                                                            ioner
                                                                ’s
request.Intheunders
                  igned’
                       sexperience
                                 ,therequestappearsreasonab
                                                          le,andthe
unders
     ignedfindsnocausetoreducethereques
                                      tedhou rsorrates
                                                     . Fur
                                                         thermore
                                                                ,the
requestedamountfal
                 lswi
                    thintherangeasser
                                    tedbyresponden t
                                                   .

    TheVaccineActpermitsanawa rdofreasonableat
                                             torneys’feesandcos
                                                              ts.
§15
  (e)
    . Basedonthereasonablenessofpeti
                                   t
                                   ioner’srequest,theunders
                                                          igned
GRANTS pe
        ti
         tione
             r’smotionforat
                          torneys
                                ’feesandcos ts
                                             .

     According
             ly,theunde
                      rsignedawardsthetota
                                         lo f$13  .133asalump
                                               ,777
suminthefo rmofacheckjo
                      intlypayab
                               letopeti
                                      tionerandpeti
                                                  tione
                                                      r’scounse
                                                              l,
Max
  imi
    llian Mul
            ler.

       T
       hec
         ler
           kofthecou
                   rtsha
                       l
                       len
                         ter
                           judgmen
                                 tinacco
                                       rdancehe
                                              rew
                                                i
                                                th.4

ITISSO ORDERED
             .

                                              s/NoraBethDo rsey
                                              NoraBethDorsey
                                              Chie
                                                 fSpecia
                                                       l Master



3Thisamountisintendedtoco vera
                             lllegalexpensesincu
                                               rredinthi
                                                       s matter
                                                              . Thisawa rdencompassesa
                                                                                     l
                                                                                     l
chargesbytheattorneyagainstacl
                             ient,“advancedcosts
                                               ”a swel
                                                     la sfeesforlegalservi
                                                                         cesrende
                                                                                red.
Fur
  thermore,§15(e)(3)preventsanattorneyf
                                      romcha rg
                                              ingorcollec
                                                        tingfees(inc
                                                                   ludingcosts
                                                                             )tha
                                                                                twould
beinaddi
       tiontotheamoun  tawardedhe re
                                   in. Seegenera
                                               llyBeckv.Se c’yofHealth&HumanSe  rvs.
                                                                                   ,
924F.2d1029(Fed .C i
                   r.1991)
                         .

4Pu
  rsuan
      ttoVa
          ccineRu
                le11
                   (a)
                     ,en
                       tryo
                          fjudgmen
                                 tcanbee
                                       xped
                                          itedbythepa
                                                    rt
                                                     ies
                                                       ’jo
                                                         intf
                                                            i
                                                            lingo
                                                                fno
                                                                  t
                                                                  ice
renoun
     cingther
            igh
              ttoseekre
                      view
                         .

                                          2
